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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MabVax Therapeutics Holdings, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11535 Sorrento Valley Road
                                  Suite 400
                                  San Diego, CA 92121
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.mabvax.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    MabVax Therapeutics Holdings, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5417

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?
                                         Chapter 7
                                         Chapter 9
                                           Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                               Case number
                                                  District                                 When                               Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                         No
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                  Relationship
                                                  District                                 When                           Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor   MabVax Therapeutics Holdings, Inc.                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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                                             Schedule 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case, together, the “Debtors”) filed a voluntary petition for relief under chapter 11 of
title 11 of the United States Code in the United States Bankruptcy Court for the District of
Delaware. The Debtors have filed a motion requesting that the chapter 11 cases of these entities
be consolidated for procedural purposes only and jointly administered under the number assigned
to the chapter 11 case of MabVax Therapeutics Holdings, Inc.



                                 MabVax Therapeutics Holdings, Inc.

                                      MabVax Therapeutics, Inc.




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                    RESOLUTIONS OF THE BOARD OF DIRECTORS
                     TAKEN BY UNANIMOUS WRITTEN CONSENT
                    OF MABVAX THERAPEUTICS HOLDINGS, INC.

         WHEREAS, the undersigned, constituting all the members of the Board of Directors (the

“Board of Directors”) of MabVax Therapeutics Holdings, Inc., a Delaware corporation (the

“Company”), hereby take the following actions by unanimous written consent and adopt the

following resolutions.

I.       COMMENCEMENT OF CHAPTER 11 CASE

         NOW, THEREFORE, BE IT HEREBY RESOLVED that after due inquiry concerning

the Company’s financial situation, the Board of Directors finds and determines that it is

advisable, fair, appropriate, and in the best interest of the Company, its stockholders and its

creditors for it to commence a case under chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”);

         BE IT FURTHER RESOLVED that the officers, directors and agents of the Company,

be, and each of them is, hereby empowered, authorized, and directed without further action by

the Board of Directors to prepare, sign, file and prosecute, or cause to be prepared, signed, filed

and prosecuted, (a) a petition for relief under chapter 11 of the Bankruptcy Code, and (b) all

papers, pleadings, lists and schedules attendant thereto;

II.      POST-PETITION FINANCING

         BE IT FURTHER RESOLVED that the Board of Directors has determined, in light of

current circumstances and after consultation with the Company’s professional advisors, and in

connection with the filing of the Company’s chapter 11 case, that it is in the best interests of the

Company, its creditors, stockholders and other parties in interest to authorize the Company to




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obtain post-petition debtor in possession financing from BioNTech Research and Development,

Inc. or its designee in an amount not to exceed $500,000;

         BE IT FURTHER RESOLVED that the officers, directors and agents of the Company,

be, and each of them is, hereby empowered and directed without further action by the Board of

Directors to execute and deliver the Senior Secured Superpriority Priming Debtor-In-Possession

Credit Agreement (with such modifications as J. David Hansen may approve) and all agreements

related thereto or contemplated thereby, to cause the Company to perform all of its obligations

under the Senior Secured Superpriority Priming Debtor-In-Possession Credit Agreement, and to

take any and all actions to obtain Bankruptcy Court interim and final approval of the post-

petition debtor in possession financing facility;

III.     ENTRY INTO ASSET PURCHASE AGREEMENT

         BE IT FURTHER RESOLVED that the Board of Directors has determined, in light of

current circumstances and after consultation with the Company’s professional advisors, and in

connection with the filing of the Company’s chapter 11 case, that it is in the best interests of the

Company, its creditors, stockholders and other parties in interest to authorize the Company to

enter into that certain Asset Purchase Agreement with BioNTech AG or its designee, including,

without limitation, giving BioNTech AG certain bid protections contained therein to serve as a

stalking horse bidder;

         BE IT FURTHER RESOLVED that the officers, directors and agents of the Company,

be, and each of them is, hereby empowered and directed without further action by the Board of

Directors to execute and deliver the Asset Purchase Agreement (with such modifications as J.

David Hansen may approve) and all agreements related thereto or contemplated thereby, to take

any and all actions to obtain Bankruptcy Court authorization to sell the Company’s assets and to



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cause the Company to perform all of its obligations under the Asset Purchase Agreement (either

with BioNTech AG or another party);

IV.      RETENTION OF ADVISORS

         BE IT FURTHER RESOLVED that the previous retention by the Company’s officers

and agents of the law firm of The Rosner Law Group LLC (“RLG”) as bankruptcy counsel to the

Company to represent and assist the Company in connection with its consideration of various

insolvency-related obligations and bankruptcy alternatives, and to commence and prosecute the

aforementioned chapter 11 case, and to do all things, and to prepare, sign and file all papers and

documents necessary and proper to the prosecution of said chapter 11 case, is hereby approved

and ratified; and RLG is authorized to take such actions in the bankruptcy case which RLG, in its

discretion, concludes are necessary to RLG’s and/or the Company’s fulfillment of their fiduciary

obligations in the bankruptcy case; and the Company’s officers and agents are hereby authorized

and directed to execute and ratify appropriate retention agreements, pay appropriate retainers and

fees, and to cause to be filed an appropriate application to retain the services of RLG;

         BE IT FURTHER RESOLVED that the officers, directors, and agents of the Company

be, and hereby are, authorized and empowered to employ on behalf of the Company any other

professionals necessary to assist the Company in carrying out its duties under the Bankruptcy

Code; and in connection therewith, the officers of the Company are hereby authorized and

directed to execute appropriate retention agreements, pay appropriate retainers and fees, and

cause to be filed an appropriate application for authority to retain the services of any other

professionals as necessary;

V.       GENERAL




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         BE IT FURTHER RESOLVED that the officers, directors, and agents of the Company

be, and hereby are, authorized and directed, in the name and on behalf of the Company, to take

such actions and to make, sign, execute, acknowledge, and deliver all petitions, schedules,

motions, lists, applications, pleadings, and any and all such additional documents, agreements,

affidavits, applications for approvals or rulings of governmental or regulatory authorities,

motions, orders, directions, certificates, requests, receipts, financing statements, or other

instruments as such officer, director, or agent or the Company’s legal counsel may deem

necessary, proper, or desirable in connection with the case under chapter 11 of the Bankruptcy

Code, with a view to the successful prosecution of such case, and as may be reasonably required

to give effect to the foregoing resolutions and to consummate the transactions contemplated by

the foregoing resolutions, to execute and deliver such instruments, and to fully perform the terms

and provisions thereof; and

         BE IT FURTHER RESOLVED that to the extent that any of the actions authorized by

any of the foregoing resolutions have been taken by an officer, director, or agent on behalf of the

Company, such actions are hereby ratified and confirmed in their entirety.

         IN WITNESS WHEREOF, the Board of Directors have executed this consent as of

March 19, 2019.




                                                                     _______________________
                                                                               J. David Hansen



                                                                     _______________________
                                                                             Gregory P. Hanson

                                                                     _______________________
                                                                            Philip O. Livingston

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 Fill in this information to identify the case:

 Debtor name         MabVax Therapeutics Holdings, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration                 Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         03/20/19                                 X
                                                                         Signature of individual signing on behalf of debtor

                                                                         J. David Hansen
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name MabVax Therapeutics Holdings, Inc.
 United States Bankruptcy Court for the: DISTRICT OF DELAWARE                                                                                     Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Memorial Sloan                                                  Clinical Research                                                                                    $1,197,873.36
 Kettering                       Ogunwald@mskcc.
 P.O. Box 29049                  org
 New York, NY 10087              (646) 227-2188
 Baker Botts LLP                                                 Legal Services                                                                                       $1,063,632.97
 910 Louisiana Street            jonathan.shapiro@
 Houston, TX 77002               bakerbotts.com
                                 (415) 291-6200
 Sarah Cannon                                                    Clinical Research                                                                                      $321,111.79
 Research Institute              Alaina.Fisher@sara
 P.O. Box 277816                 hcannon.com
 Atlanta, GA                     (615) 329-7484
 30384-7816
 Cooley Godward &                                                Legal Services                                                                                         $267,595.91
 Kronish                         AR@cooley.com
 101 California
 Street, 5th Floor
 San Francisco, CA
 94111
 Sichenzia Ross                                                  Legal Services                                                                                         $221,844.96
 Ference Kesner LLP              ehagen@srfkllp.co
 1185 Avenue of the              m
 Americas                        (212) 930-9700
 New York, NY 10036
 Greenhill & Co.                          Professional                                                                                                                  $192,501.00
 300 Park Avenue       tfeldman@greenhill Services
 New York, NY 10022    .com
                       (212) 389-1500
 Mintz Levin et al. PC                    Legal Services                                                                                                                $186,973.22
 PO Box 4539           RFerguson@mintz.
 Boston, MA            com
 02212-4539            (858) 314-1569
 Scottsdale                               Clinical Research                                                                                                             $108,734.55
 Healthcare            Mariah.Smith@hon
 Hospitals             orhealth.com
 8125 N. Hayden Rd. (480) 323-1942
 Scottsdale, AZ
 85258

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    MabVax Therapeutics Holdings, Inc.                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Jones Day                                                       Legal Services                                                                                         $103,018.87
 555 South Flower                irodriguez@jonesd
 Street, 50th Floor              ay.com
 Los Angeles, CA                 (213) 243-2452
 90071
 Latham & Watkins                                                Legal Services                                                                                           $58,725.50
 P.O. Box 894256                 Maynard.Radoc@l
 Los Angeles, CA                 w.com
 90189-4256                      (650) 463-2624
 Charles River                                                   Clinical Research                                                                                        $55,855.72
 Laboratory                      Leeann.Woss@CR
 PO Box 27812                    L.com
 New York, NY 10087
 Morris Nichols,                                                 Legal Services                                                                                           $53,561.70
 Arsht & Tunnell LLP             ekwilensky@mnat.
 1201 North Market               com
 Street, 16th Fl                 (302) 658-9200
 Wilmington, DE
 19899
 Digital Intelligence                                Professional                                                                                                         $52,648.70
 17165 W. Glendale               cbeyer@digitalintel Services
 Drive                           ligence.com
 New Berlin, WI                  (262) 782-3398
 53151
 Alcami (previously                                              Clinical Research                                                                                        $42,498.23
 AAIPharma)                      jillianne.sprague@
 PO BOX 603059                   alcaminow.com
 Charlotte, NC 28260
 Russo Partners LLC                                 Professional                                                                                                          $37,525.00
 12 West 27th Street,            brad.prunty@russo Services
 4th Floor                       partnersllc.com
 New York, NY 10001              (646) 942-5588
 IQVIA (previously                                  Clinical Research                                                                                                     $32,196.26
 Quintiles)                      Patrick.Stack@iqvi
 PO Box 601070                   a.com
 Charlotte, NC 28260             (919) 998-2304
 Exact Clinical                                     Staffing Services                                                                                                     $28,563.28
 Research Services               dmaciasExactClini
 2414 Minden Way                 cal@icloud.com
 Sacramento, CA
 95835
 IBM Clinical                                                    Trade debt                                                                                               $17,851.20
 previously eMERGE               Aletza.Ramos@ibm
 PO Box 534151                   .com
 Atlanta, GA                     (866) 387-4257
 30353-4151
 Computershare Inc.                               Professional                                                                                                            $16,005.64
 Dept CH 19228                   Lee.Meier@comput Services
 Palatine, IL                    ershare.com
 60055-9228




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    MabVax Therapeutics Holdings, Inc.                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Haskell & White                                  Professional                                                                                                            $14,200.00
 300 Spectrum                    kwalton@hwcpa.co Services
 Center Dr.                      m
 Suite 300                       (949) 450-6281
 Irvine, CA 92618




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE
                                                               )
    In re:                                                     ) Chapter 11
                                                               )
    MABVAX THERAPEUTICS HOLDINGS,                              ) Case No. 19-
    INC.,1                                                     )
                                                               )
                             Debtor.                           ) Joint Administration Requested
                                                               )


                        CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

             Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate

possible disqualification or recusal, the undersigned certifies that the following is a corporation, other than

the debtor or a governmental unit, that directly or indirectly own 10% or more of any class of the

corporation’s equity interests, or states that there are no entities to report under FRBP 7007.1:


             None.




Dated: March 20, 2019                               ____________________________________
                                                    J. David Hansen
                                                    CEO of MabVax Therapeutics Holdings, Inc.




1
 The last four digits of the taxpayer identification number of the Debtor is 7903. The Debtor’s mailing address is
11535 Sorrento Valley Road, Suite 400, San Diego, CA 92121.


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